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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                       BK Case No. 18-11094 (SCC)
                                              (Jointly Administered) (Chapter 15)
 PERFORADORA ORO NEGRO,
 S. DE R.L. DE C.V., et al.

 Debtors in a Foreign Proceeding.

 GONZALO GIL-WHITE, PERSONALLY                Adversary Case No. 19-01294 (SCC)
 AND IN HIS CAPACITY AS FOREIGN
 REPRESENTATIVE OF PERFORADORA
 ORO NEGRO, S. DE R.L. DE C.V. AND
 INTEGRADORA DE SERVICIOS
 PETROLEROS ORO NEGRO, S.A.P.I. DE
 C.V.
                  Plaintiff,
      -against-

 ALP ERCIL; ALTERNA CAPITAL
 PARTNERS, LLC; AMA CAPITAL
 PARTNERS, LLC; ANDRES
 CONSTANTIN ANTONIUS-GONZÁLEZ;
 ASIA RESEARCH AND CAPITAL
 MANAGEMENT LTD.; CQS (UK) LLP;
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 FINTECH ADVISORY, INC.; DEUTSCHE
 BANK MÉXICO, S.A.; INSTITUCIÓN DE
 BANCA MÚLTIPLE; GARCÍA
 GONZÁLEZ Y BARRADAS ABOGADOS,
 S.C.; GHL INVESTMENTS (EUROPE)
 LTD.; JOHN FREDRIKSEN; KRISTAN
 BODDEN; MARITIME FINANCE
 COMPANY LTD.; NOEL BLAIR HUNTER
 COCHRANE, JR; ORO NEGRO PRIMUS
 PTE., LTD.; ORO NEGRO LAURUS PTE.,
 LTD.; ORO NEGRO FORTIUS PTE., LTD.;
 ORO NEGRO DECUS PTE., LTD.; ORO
 NEGRO IMPETUS PTE., LTD.; PAUL
 MATISON LEAND, JR.; ROGER ALAN
 BARTLETT; ROGER ARNOLD
 HANCOCK; SEADRILL LIMITED; SHIP
 FINANCE INTERNATIONAL LTD.; and
 DOES 1-100
                   Defendants.

                             DECLARATION OF JUAN MORILLO

          I, Juan P. Morillo, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

that the following is true and correct:

          1.     I am an attorney with Quinn Emanuel Urquhart & Sullivan, LLP, counsel of record

for Fernando Perez Correa Camarena, the Foreign Representative of Integradora de Servicios

Petroleros Oro Negro, S.A.P.I. de C.V. and Perforadora Oro Negro, S. de R.L. de C.V. in this

action.

          2.     I am a member in good standing of the State Bars of the District of Colombia and

the State of Florida, and I am pro hac vice admitted to practice in this Court.

          3.     I respectfully submit this declaration in support of the Opposition to Defendants'

Motions to Dismiss the Complaint.

          4.     Exhibit 1 to this Declaration is a true and correct copy of the minutes of the

September 12, 2019 Singapore appellate court decision.



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       5.      Exhibit 2 is a true and correct copy of correspondence with counsel to the Ad-Hoc

Group and (at the time) the Singapore Rig Owners.

       6.      Exhibit 3 is a true and correct copy of documents with bates numbers ORO-

NEGRO-AMA_00001142-1147 produced in this underlying Chapter 15 proceeding.1

       7.      Exhibit 4 is a true and correct copy of documents with bates numbers ORO-

NEGRO-AMA_00004411-4418 produced in this underlying Chapter 15 proceeding.

       8.      Exhibit 5 is a true and correct copy of documents with bates numbers ORO-

NEGRO-AMA_00044247-44248 produced in this underlying Chapter 15 proceeding.

       9.      Exhibit 6 is a true and correct copy of documents with bates numbers ORO-

NEGRO-AMA 00022190-22194 produced in this underlying Chapter 15 proceeding.

       10.     Exhibit 7 is a true and correct copy of documents with bates numbers ORO-

NEGRO-AMA_00031541-31543 produced in this underlying Chapter 15 proceeding.

       11.     Exhibit 8 is a true and correct copy of the Declaration of Mark Morris, Chief

Financial Officer of Seadrill Limited, In Support of Chapter 11 Petitions and First Day Motions at

17, In re: Seadrill Limited, et al., No. 17-60079 (Bankr. S.D. Tex. Sept. 12, 2017).



                          [Remainder of page intentionally left blank]




1
       Exhibits 2 to 7 of this Declaration have been filed in redacted format in accordance with
the governing protective order (ECF 104) in the underlying Chapter 15 proceeding.


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Dated: October 25, 2019




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